      Case 7:19-cv-10933-PED Document 1 Filed 11/26/19 Page 1 of 9




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ANITA EISENHAUER,
                                                       Case No. 19-CV-10933
                             Plaintiff,
                                                       COMPLAINT
                    v.

CULINARY INSTITUTE OF AMERICA,                         ECF CASE

                             Defendant.



       COMES NOW THE PLAINTIFF Anita Eisenhauer, by her attorney, Steven

M. Warshawsky, for her complaint against the defendant Culinary Institute of

America and alleging upon personal knowledge and information and belief as

follows:

                            NATURE OF THE ACTION

       1.     This is an action for violation of the federal and state equal pay acts

brought by a female professor of the Culinary Institute of America, New York

campus, who, from the start of her employment, has been and continues to be paid

less than similarly-situated male professors, despite performing equal work, under

similar working conditions, on jobs the performance of which requires equal skill,

effort, and responsibility. See 29 U.S.C. § 206(d) (EPA); N.Y. Lab. Law § 194 (EPL).

This differential treatment is not the result of a seniority system, a merit system, a

system that measures earnings by quantity or quality of production, or any other

factor other than sex. By this action, the plaintiff seeks all legal and equitable relief

available, including back pay, front pay, liquidated damages, attorney’s fees and

costs, and appropriate injunctive relief. The plaintiff demands trial by jury.




                                           1
        Case 7:19-cv-10933-PED Document 1 Filed 11/26/19 Page 2 of 9




                                       PARTIES

        2.     Plaintiff Anita Eisenhauer is an adult resident of West Hurley, New

York.    Ms. Eisenhauer meets the definition of “employee” under all applicable

statutes.

        3.     Defendant Culinary Institute of America (“defendant CIA”) is a

non-profit educational institution with offices at 1946 Campus Drive, Hyde Park,

New York, 12538.       Defendant CIA meets the definition of “employer” under all

applicable statutes.

                           JURISDICTION AND VENUE

        4.     This Court has original jurisdiction over this action pursuant to

28 U.S.C. § 1331, because this action arises under the laws of the United States.

        5.     This Court has supplemental jurisdiction over the plaintiff’s state law

claims pursuant to 28 U.S.C. § 1367, because the plaintiff’s federal and state law

claims derive from a common nucleus of operative facts and form part of the same

case or controversy under Article III of the U.S. Constitution.

        6.     This Court has venue over this action pursuant to 28 U.S.C.

§ 1391(b)(2), because a substantial part of the events or omissions giving rise to the

claim occurred in this judicial district.

                             FACTUAL ALLEGATIONS

        7.     According to its website (www.ciachef.edu), defendant CIA “is widely

recognized as the world’s premier culinary college.”         The cooking faculty at

defendant CIA is divided into two main departments, “Culinary Arts” and “Baking




                                            2
      Case 7:19-cv-10933-PED Document 1 Filed 11/26/19 Page 3 of 9




and Pastry Arts.” Faculty members in both departments teach the core in-kitchen

classes at defendant CIA, often teaching together in the same courses.

       8.     Ms. Eisenhauer received a bachelor’s degree in culinary education

from SUNY Empire State College and an MBA in sustainability from Green

Mountain College.    She has been working full-time in the culinary industry for

approximately thirty years.

       9.     Ms. Eisenhauer started working for defendant CIA in 2002. She is

part of the Culinary Arts department. Ms. Eisenhauer was promoted to the

academic rank of Professor in 2013.

       10.    Ms. Eisenhauer has been an exemplary member of defendant CIA’s

faculty throughout her tenure. She has consistently received high marks in her

performance reviews. She holds the distinction of being the first female chef to lead

a public restaurant at CIA and subsequently was chosen to open and manage a CIA

restaurant in Singapore – both achievements were highlighted by CIA in its

marketing materials. Ms. Eisenhauer has participated in multiple volunteer

projects, including serving as a club advisor, initiating a food donation program

through the Chefs In Community Service Club, organizing CIA’s first Sustainability

Conference for students, and most recently serving in a leadership role on the

Culinary Program Review Committee. She also was the first female faculty member

to serve on CIA’s Faculty Council.    Since 2016, she has served as Chair of the

Faculty Council.

       11.    Despite her outstanding performance, throughout her tenure at

defendant CIA Ms. Eisenhauer has been compensated less well than her male

colleagues, despite performing substantially similar work.




                                         3
       Case 7:19-cv-10933-PED Document 1 Filed 11/26/19 Page 4 of 9




       12.    When Ms. Eisenhauer first was hired at defendant CIA, with the title

Lecturing Instructor, she was paid a lower starting salary than similarly-situated

male new hires, also with the title Lecturing Instructor, despite performing

substantially similar work. When she was hired, she was paid $50,000 per year,

whereas two similarly-situated male faculty members who were hired the same year

were paid approximately $60,000 to $65,000 per year.          This discriminatory pay

differential continues to negatively affect Ms. Eisenhauer’s salary to the present

day.

       13.    Upon information and belief, this pattern of differential pay based on

sex was prevalent for decades before Ms. Eisenhauer was hired. Upon information

and belief, going back to the 1980s and 1990s, each year there were male and female

new hires, the female employees were paid less than the male employees, despite

having the same academic rank of Lecturing Instructor and performing

substantially similar work. Upon information and belief, these discriminatory pay

practices continue to the present day.

       14.    Today,   despite   having   been   a   full   professor   for   six   years,

Ms. Eisenhauer is paid less than similarly-situated male faculty members of lower

academic rank. For example, Ms. Eisenhauer is paid approximately $108,000 per

year, whereas a male Associate Professor is paid approximately $120,000 per year

and two male Assistant Professors are paid approximately $115,000 per year.

       15.    Furthermore, the male Associate Professor referred to above was hired

the same year as Ms. Eisenhauer. They have the same seniority. Nevertheless, he

started at a higher salary and currently is paid approximately $12,000 per year

more than Ms. Eisenhauer, despite having a lower academic rank.




                                          4
        Case 7:19-cv-10933-PED Document 1 Filed 11/26/19 Page 5 of 9




        16.   This pay discrepancy exists even though Ms. Eisenhauer performs

virtually identical duties as her male colleagues, involving equal skill, effort, and

responsibility.

        17.   All CIA faculty members perform their job duties in the same three

locales: classrooms, offices, and CIA restaurants.

        18.   All Lecturing Instructors and Professors, including Ms. Eisenhauer

and her similarly-situated male colleagues, are required to maintain full-time,

fifteen-credit per semester teaching schedules, typically involving 6-8 hours of

classroom instruction.    Class sizes are consistent throughout all departments,

ranging between 10-20 students per class. Lecturing Instructors and Professors are

required to prepare lectures based on course guide schedules, draft individual

powerpoint presentations, create tests and other evaluation materials and exercises,

and perform other tasks related to classroom instruction. Lecturing Instructors and

Professors also are required to hold office hours with students for two hours every

week.

        19.   The positions held by Ms. Eisenhauer and her male counterparts

require equal skill as demonstrated by the substantially similar factors defendant

CIA considers when hiring new faculty members. CIA requires at least seven years

of incremental scaling up of positions within the culinary industry, specifically in

leadership positions. Before joining CIA’s staff, Ms. Eisenhauer had over ten years

of experience in incrementally higher positions in New York City restaurants,

including the position of executive chef.     She also held leadership positions in

reputable restaurants abroad. Her male counterparts held similar positions in New

York City and Europe prior to being hired by CIA. Additionally, all potential

candidates must undergo the same pre-hiring evaluation process, which includes an


                                          5
      Case 7:19-cv-10933-PED Document 1 Filed 11/26/19 Page 6 of 9




in-person interview with the HR director and passing a practical exam that involves

an in-class teaching demonstration and a cooking test.

       20.    Ms. Eisenhauer has comparable educational credentials to her higher-

paid male colleagues. As stated above, Ms. Eisenhauer received a bachelor’s degree

in culinary education from SUNY Empire State College and an MBA in

sustainability from Green Mountain College. It is noteworthy that one of

Ms. Eisenhauer’s male colleagues, who was hired approximately six years after

Ms. Eisenhauer, holds the same degrees from the same universities. Nevertheless,

despite having the same educational background and lesser seniority, he is paid

more than Ms. Eisenhauer.

       21.    Defendant CIA’s performance review process further indicates that

CIA considers all faculty positions to be substantially similar. All CIA faculty

members are assessed under the same criteria regardless of position. Specific

categories of assessment include following and enforcing policies, staying on budget,

collaborative work within departments, service work, and student reviews. Faculty

members are assessed on a scale from 1 to 5, with 5 being the highest possible score;

however, it is common knowledge at CIA that scores of 5 are rarely given out. In her

last review, Ms. Eisenhauer received an overall score of 4.

       22.    Although male faculty members who have more seniority are paid

more than their female peers, the same is not true for female faculty members with

more seniority; they are not paid more than their male peers. Ms. Eisenhauer is

paid approximately the same amount as a similarly-situated male Professor who has

six years less seniority. Upon information and belief, other male faculty members

with less seniority are paid more than Ms. Eisenhauer.




                                          6
      Case 7:19-cv-10933-PED Document 1 Filed 11/26/19 Page 7 of 9




       23.    Upon information and belief, this pattern of differential pay based on

sex applies to other female faculty members, who are out-earned by their male peers

at every academic rank and seniority level. For example, two female Professors who

were hired in 1990 and 1991 are paid less than a male Professor who was hired in

1995. They were paid less when they started, as Lecturing Instructors, and they are

paid less today, as Professors.

       24.    Upon information and belief, every female faculty member at

defendant CIA has experienced discriminatory pay practices that continue to

negatively affect her compensation to the present day.

       25.    It is implausible that the pay differential that clearly exists between

similarly-situated male and female faculty members at defendant CIA, which always

favors the male faculty member, is based “on any other factor other than sex.”

                       COUNT ONE: VIOLATION OF EPA

       26.    Based on the factual allegations set forth above, along with reasonable

inferences drawn in the plaintiff’s favor, defendant CIA is liable to the plaintiff for

violation of the federal Equal Pay Act, 29 U.S.C. § 206(d).

       27.    During Ms. Eisenhauer’s employment, defendant CIA required her to

perform the same or substantially same job duties as other male employees,

requiring equal skill, effort, and responsibility, under similar working conditions,

and paid her at a rate of pay less than such male employees.

       28.    Defendant CIA engages in policies and/or practices of employment

that discriminate against Ms. Eisenhauer on the basis of her sex by paying her a

lower rate of pay than that paid to male employees performing the same or




                                           7
      Case 7:19-cv-10933-PED Document 1 Filed 11/26/19 Page 8 of 9




substantially similar job duties requiring equal skill, effort, and responsibility,

under similar working conditions.

       29.    As a direct and proximate result of defendant CIA’s unlawful and

discriminatory conduct, Ms. Eisenhauer has suffered financial damages, for which

she is entitled to an award of back pay, front pay, liquidated damages, attorney’s

fees and costs, and appropriate injunctive relief.

                       COUNT TWO: VIOLATION OF EPL

       30.    Based on the factual allegations set forth above, along with reasonable

inferences drawn in the plaintiff’s favor, defendant CIA is liable to the plaintiff for

violation of the state Equal Pay Law, N.Y. Lab Law § 194.

       31.    During Ms. Eisenhauer’s employment, defendant CIA required her to

perform the same or substantially same job duties as other male employees,

requiring equal skill, effort, and responsibility, under similar working conditions,

and paid her at a rate of pay less than such male employees.

       32.    Defendant CIA engages in policies and/or practices of employment

that discriminate against Ms. Eisenhauer on the basis of her sex by paying her a

lower rate of pay than that paid to male employees performing the same or

substantially similar job duties requiring equal skill, effort, and responsibility,

under similar working conditions.

       33.    As a direct and proximate result of defendant CIA’s unlawful and

discriminatory conduct, Ms. Eisenhauer has suffered financial damages, for which

she is entitled to an award of back pay, front pay, liquidated damages, attorney’s

fees and costs, and appropriate injunctive relief.




                                           8
      Case 7:19-cv-10933-PED Document 1 Filed 11/26/19 Page 9 of 9




                             DEMAND FOR JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38, the plaintiff hereby demands
a trial by jury as to all issues triable by jury in the above-captioned civil action.

                                PRAYER FOR RELIEF

WHEREFORE, the plaintiff respectfully prays for relief as follows:

         A.      A judgment declaring that the defendant violated the FLSA and the
                 New York State Labor Law;

         B.      A judgment declaring that the defendant’s violations were willful and
                 not in good faith;

         C.      A judgment awarding the plaintiff all back pay, front pay, and
                 liquidated damages she is entitled to under federal and state labor
                 laws and regulations;

         D.      An order imposing appropriate injunctive remedies on the defendant,
                 including but not limited to an order prohibiting the defendant from
                 continuing to engage in the unlawful conduct alleged herein;

         E.      Pre-judgment and post-judgment interest as allowed by law;

         F.      Attorney’s fees and costs as allowed by law; and

         G.      Such other and further legal and equitable relief as this Court deems
                 necessary, just, and proper.

Dated:        November 26, 2019
              New York, NY

                                             Respectfully submitted,

                                             Steven M. Warshawsky
                                      By:    _____________________________________
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                                            9
